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P R O B 35                  ORDER TERMINATING PROBATION
                              PRIOR TO EXPIRATION DATE


                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                             )
                                                     )
                             vs.                     )    Docket Number: 1:03CR05192-001 REC
                                                     )
DAVID DUANE BRIDGE                                   )
                                                     )


On May 24, 2004, the above-named was placed on Probation for a period of 3 years. He has
complied with the rules and regulations of supervision. It is accordingly recommended that
he be discharged from supervision.

                                   Respectfully submitted,

                                         /s/ Frank Esquivel

                                   FRANK ESQUIVEL
                          Senior United States Probation Officer

Dated:         July 17, 2006
               Bakersfield, California

                                    /s/ Rick C. Louviere
REVIEWED BY:
                      RICK C. LOUVIERE
                      Supervising United States Probation Officer




                                                                                                          R ev. 05/2006
                                                               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
          Case 1:03-cr-05192-REC Document 115 Filed 07/21/06 Page 2 of 2


Re:   David Duane BRIDGE
      Docket Number:
      ORDER TERMINATING PROBATION
      PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the proceedings in
the case be terminated.

July 19, 2006                                     /s/ OLIVER W. WANGER
Date                                            OLIVER W. WANGER
                                                Senior United States District Judge

FE:ks
Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                                        R ev. 05/2006
                                                             E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
